                                                                                                   DISTRICT OF OREGON
                                                                                                           FILED
                                                                                                         December 08, 2016
                                                                                                Clerk, U.S. Bankruptcy Court


        NOTICE IS GIVEN, and it is ordered, that the claim below shall be disallowed or allowed as
        recommended below and, unless any chapter 13 confirmation order entered hereafter provides
        otherwise, the amount of any arrearage will be fixed as recommended below, without further order
        unless within 44 days of the date in the 'FILED' stamp the creditor either: (1) sends, with a copy of this
        objection, the proper documentation to the trustee/debtor-in-possession and any other objecting party
        at the service address(es) below, and receives a written withdrawal of objection; or (2) files a written
        request for a hearing, setting forth the specific grounds for such request, with the Clerk of Court (i.e., if
        the 5-digit portion of the Case No. begins with '3' or '4', at 1001 SW 5th Ave. #700, Portland OR
        97204; or, if it begins with a '6' or '7', at 405 E 8th Ave #2600, Eugene OR 97401), and (b) serves a
        copy thereof on the trustee/debtor-in-possession and any other objecting party at the service
        address(es) below. [NOTE: This Order does not indicate how the Court will rule if a timely request for
        hearing is filed.]

        The filer of the objection is hereby directed to the related notice regarding service of this objection.


                                                                                 _______________________________________
                                                                                             RANDALL L. DUNN
                                                                                           U.S. Bankruptcy Judge




                                           UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF OREGON

   In re                                                         )
                                                                 )            15- 35469-rld13
                                                                     Case No.___________________
   Dawn Mechele Kennedy                                          )
                                                                 )               Amended
                                                                 )   OBJECTION TO CLAIM, AND
                                                                 )   ORDER AND NOTICE THEREON
   Debtor(s)                                                     )

   1.    The undersigned objects to Claim No.           10-1     , filed in the amount of $ 299,652.74              , by:
         (Enter the current claim ant's nam e, proof of claim notice address, and FRBP 7004 service address(es) of claim ant)
   -Bayview Loan Servicing, LLC, 4425 Ponce de Leon Blvd., 5th Floor, Coral Gables, FL 33146
   -Bayview Loan Servicing, LLC, c/o Richard O'Brien, President, 4425 Ponce de Leon Blvd., 5th Floor,
   Coral Gables, FL 33146
   -M&T Bank, PO Box 840, Buffalo, NY 14240-0840
   -M&T Bank, c/o Robert G. Wilmers, CEO, PO Box 844, Buffalo, NY 14240
   -Mr. Nathan Smith, AAL, Malcolm Cisneros, 2112 Business Center Drive, Irvine, CA 92612


   2.    The undersigned objects to such claim on the ground(s) it (check all applicable sections):

   G     Duplicates Claim No.                filed by                                                .

   G     Fails to assert grounds for priority.

   G     Was not filed on behalf of a real party in interest (e.g., does not include a copy of the assignment(s) upon
         which it is based).

   G     Appears to include interest or charges accrued after the filing.


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   G    Appears that value of collateral exceeds debt.

   G    Arrearage asserted is incorrect.

   G    The creditor filed a secured claim, but neither: (a) specified that any portion of the claim should be treated as
        unsecured nor (b) requested a hearing to determine the value of their collateral, and therefore the trustee
        objects to any portion of the claim being treated as unsecured.

   G    The creditor filed a claim for taxes assessed against real or personal property of the debtor(s). The
        undersigned represents that the interest of the estate in the real or personal property against which the above
        taxes were assessed has no value in that the estate has no equity or interest in such property, and so under
        the provisions of 11 U.S.C. §502(b) no order can be made for payment of such taxes.

   G    Proof of claim does not include documentation required by FRBP 3001(c) and (d) (e.g., a copy of the note,
        or documents establishing secured status).

   G    Other:
   Previous claim objection [Docket Item #36] has been sustained but claim objection erroneously listed the arrearage as
   $9,046.73. Actual arrearage is $0. The Loan Modification attached to the Proof of Claim indicates that the escrow
   shortage claimed by the creditor to be unpaid was in fact capitalized in the loan modification. Debtor was current on all
   payments due under the loan modification from its inception through to the filing of the chapter 13 bankruptcy case.




   3.   The undersigned recommends said claim be (check applicable box(es)):

   G    Disallowed in full.

   G    (If objection is based on failure to provide documentation) Disallowed for distribution: If an amended claim
        including the required documentation is not filed within 30 days of the filed date noted above, no distribution
        on account of the claim will be made by the trustee or debtor.

   G    Allowed as a SECURED claim for $____________;
                                        244,324.74    a PRIORITY UNSECURED claim for $____________;
                                                                                            0.00
        AND a NONPRIORITY UNSECURED claim for $____________.
                                                   0.00         [You must fill in each blank even if it is $0.]

   G    (If amount of arrearage is contested) The amount of the arrearage is $____________.
                                                                              0


   4.   THE UNDERSIGNED CERTIFIES THAT a copy of any Withdrawal of this Objection will be served on all
        parties that were served a copy of this Objection (i.e., the U.S. Trustee, any trustee, debtor(s), the creditor
        at the address shown above, and their respective attorneys; and, if the creditor is a federal agency, on the
        U.S. Attorney for the District of Oregon and the U.S. Attorney General).

           12/07/16
   DATE: __________           /s/ Michael D. O'Brien, Counsel to Debtor
                              _____________________________________________________________________
                              Objecting Party Signature AND Relation to Case
                              Michael D. O'Brien, 12909 SW 68th Parkway, Portland, OR 97223
                              _____________________________________________________________________
                              Objecting Party Nam e AND Service Address (Type or Print)
                              _____________________________________________________________________
                              503-786-3800

                              Objecting Party Phone Num ber
                              _____________________________________________________________________
                              (If Debtor is Objecting Party) Debtor’s Address AND Taxpayer I.D.#(s) (last 4 digits)


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